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EXHIBIT J
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VOLUME II

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

IN RE:

Methyl Tertiary :MDL NO. 1358 (SAS)
Butyl Ether ("MTBE") :

Products Liability

Litigation

In Re:
City of New York

April 7; 2009

Continued Videotaped
Deposition of DAVID B. TERRY, P.G., held
in the law offices of McDermott, Will &
Emery, 340 Madison Avenue in New York,
New York, beginning at approximately
9:14 a.m., before Ann V. Kaufmann, a
Registered Professional Reporter,
Certified Realtime Reporter, Approved
Reporter of the U.S. District Court, and
a Notary Public.

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1 A. Ididn't analyze them 1 that release occurred to the point where
2 separately, but I am aware that there's 2 MTBE had reached the groundwater?
3. aspect ratio aspects to the model. 3 A. Yeah. In the way that we
4 Q. Do you know what -- the 4 did the modeling here, we assumed that
5 highest aspect ratios that were used in 5 MTBE would be reaching the groundwater
6 the model? 6 in 1990. And typically the spill
7 A. Idon't specifically know. 7 numbers, you know, occur -- are entered
8 I know that some of the cells near the 8 ata date after the spill occurs,
9 boundary, for example, have probably 9 especially for the unknown releases, the
10 some of the higher aspect ratios." 10 subsurface releases.
11 Q. Do you know what those are? 11 Q. So is it fair to say then
12 A. What the cells-are? 12 ‘that the time would have been zero,
13 Q. No. What the aspect ratios 13 there would have been no time elapsed in
14 are. 14 your model, it would have been
15 A. I don't know the numbers. 15 instantaneous with the release that the
16 . Okay. Can the aspect ratio 16 MTBE reached the groundwater table?
17 affect the reliability of a model? 17 MR. GREENE: Objection.
18 A. It can. 18 A. I'm not exactly saying
19 Q. Under what circumstances, 19 that. What I'm saying is there is a
20 do you know? : 20 spill that occurred at some point in
21 A. Well, for example, if one 21 time, and then in 1990 that spill --
22 is trying to conduct a particle tracking 22 evidence of that spill was discovered.
23 exercise, then things like the aspect 23 So there would be a time lapse there
24 ratio can influence the location of that 24 that's no more than zero.
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1 particle, the relative confidence that 1 And then what our modeling
2 you would have in the extent of the 2 did was assume it is entering the
3 capture zone a particle moving through. 3 groundwater beginning in that time.
4 Q. When you are doing modeling 4 Q. Do you have any information
5 with LBG, is there any type of company 5 about that specific spill, as to when it
6 or guidance that you use on this for 6 occurred?
7 determining what the maximum size aspect, 7 A. Not in front of me today.
8 ratio of a cell should be? 8 All we used here, I believe -- what we
9 A. I don't think we have a 9 typically used here was the spill --
10 standard reference for that. 10 information and the spill number or
11 Q. I would like you to look at 11 reported spill date in the file.
12 Table 4, the same table we were just 12 Q. Okay. But did you do an
13 looking at, if you could, sir. And 13 evaluation to determine at least an
14 let's focus on the site at 84-02 Parsons 14 — estimate of when the spill occurred as
15 Boulevard that has a site designation of 15 opposed to the date that you have here
16 = s6-002. 16 on Table 4?
17 Now, I'm going to ask you 17 A. No. One of the simplifying
18 for the release that occurred in 1990 18 aspects of this is that we assigned the
19 for Analysis 2, what in your modeling 19 _ spill date to the case number date, the
20 ~~ effort -- what was the time, the value 20 spill report date. That is a
21 of the time, that the -- I'm not saying 21 simplifying assumption that we made.
22 that right. 22 Q. Now, the unsaturated
23 How much time elapsed in 23 thickness for this spill at this
24 your modeling effort from the time that 24 location, 84-02, was 34 -- I'm sorry,
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1 35.14 meters; is that correct, sir? 1 instantaneous in your model, let's put

2 A. That's correct. 2 it that way?

3 Q. Okay. That is roughly, 3 A. Well, it starts to enter

4 ]--late in the day, but I think that's 4 groundwater on that date, that's true.

5 roughly somewhere around 115 feet. 5 Q. Okay. As I understand it,

6 Now, in terms of your model, 6 your cells that you have in your

7 you didn't consider that 150 feet -- 115 7 model -- and this had would be for

8 feet at all, is that correct, in 8 either -- for Analysis 1, and we can

9 _ calculating how long it would take for 9 focus for Analysis 1 -- the cells have
10 the release to move through that 10 various dimensions, but the depth of the
11 unsaturated zone to the groundwater 11 cell is essentially the depth of the
12 table? 12 water table?
13 MR. GREENE: Objection. 13 A. Well, the cell actually can
14 A. The way that we conducted 14 extend above the water table, but
15 the analysis, we're assuming that by 15 effectively the part above the water
16 1990 this spill that occurred at some 16 table doesn't really count. So
17 unknown previous date would have reached| 17 _ essentially the thickness, the saturated
18 the water table then. 18 thickness is the depth, the effective
19 Q. And that would be the same 19 depth of the model.
20 for all of the releases or all of the 20 Q. Ifyou have a sample from
21 sites shown on this Table 4, isn't that 21 some portion of that saturated
22 correct, independent of the unsaturated 22 _ thickness, isn't it fair to say that you
23 thickness? - |23 assigned that result from that sample,
24 A. That's correct. 24 that concentration from that sample, to

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1 Q. Just so I'm clear and that 1 the entire saturated thickness?

2 the record is clear then, your model, 2 A. Are you talking about a

3 even though it lists the release having 3 specific analysis?

4 occurred at a particular date, you did 4 Q. For Layer 1 in

5 not consider the time from that date at 5 Analysis 2 -- in Analysis 1, Layer 1.

6 all in determining how long it would 6 A. That's true, we did do

7 take for the release to reach the 7 ~~ that.

8 groundwater table? That was just an 8 Q. When you looked ata

9 instantaneous value at -- and it 9 particular sampling location and you got
10 occurred at the time when -- of the 10  avalue for that sampling location, did
11 release that you have on your second 11 you make any effort to try to determine
12 column in Table 4? 12 how far down vertically that sample
13 A. Well, what we used, we used 13 would represent?
14 this date as the surrogate for when MTBE | 14 A. In other words, there's a
15 from this spill would start to enter 15 depth to a well, and so what you are
16 groundwater. But I wouldn't myself 16 asking me did we look at the well depth
17 characterize it as instantaneous, 17 as part of what we did in the analysis?
18 because the spill typically occurred 18 Q. A well depth or other wells
19 before that date. And also we did 19 or any type of well clusters that may
20 simulate a rate of loading to 20 have been in the area, anything.
21 groundwater that was not instantaneous 21 A. Well, for the purpose of
22 even after that date. 22 Analysis 1 where we really -- where is
23 Q. I didn't mean to 23 the analysis where we used water quality
24 characterize it that way. It is 24 data, we just looked for maximum

82 (Pages 726 to 729)
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